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                             I,NITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      ABILENE DIVISION

UNITED STATES OF AMERICA,
  Plahtiff,

                                                                NO. 1:20-CR-033-01-H

JOSEPH COOTER PAYNE (1),
  Defendant.


              ORDER ACCEPTING REPORT AND RECOMMEI{DATION
                 OF TIIE UNITED STATES MAGISTRATE JUDGE
                        CONCERNING PLEA OF GI,JILTY

         After reviewing   a1l   relevant matters of record, including the Notice Regarding   Enry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance wittt 28 U.S.C.

$   636OXl), the undersigned District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guitty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.

         Dated Septemb     er{Jo2o.


                                                 JAMES        SLEY HENDRIX
                                                 UNIT       STATES DISTRICT JUDGE
